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                                                     October 13, 2023



Via ECF Filing
The Honorable Brian M. Cogan
United States District Judge
225 Cadman Plaza East
Brooklyn, NY 11201

                        Re: United States v. Alexander Mayer
                            Docket No. 19 Cr. 164 (BMC)

Dear Judge Cogan:

        I write as court-appointed CJA defense counsel for defendant Alexander Mayer to report
on the defense position respecting the proposed modification to Special Condition 3 of the
Supervised Release provisions of Your Honor’s Sentence that the Second Circuit instructed be
evaluated consistently with its Mandate.

       Accordingly, after my original legal call appointment with Mr. Mayer was adjourned
from Tuesday, October 10, because of Bureau of Prisons administrative difficulties, I was able to
speak to the defendant on Thursday, October 12, 2023.

        In a succinct and entirely forthcoming conversation, he affirmed his strict observance of
Jewish religious practices, encouraged me to refer to a definition of the Sabbath and explained
that in his family and within Jewish Orthodoxy that there can be a several hour variation
amongst strict observers when Jewish Holy Days begin and end.

     As requested, I consulted The Decalogue Society of Lawyers at
www.decaloguesociety.org and found as predicted:

             ‘The Jewish Sabbath begins every Friday at sunset and ends Saturday at
             nightfall. It is a day of prayer and study, and no work, writing,
             commerce or travel is permitted.’
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       Furthermore, all Jewish Holy Days begin at sundown the evening before the date of the
Holiday and conclude at nightfall of the last day. The same proscriptions on work, writing,
commerce or travel are required.

        Thus, and because of the variations of determining sunset and nightfall even within Mr.
Mayer’s own family, and the ambiguities of the Probation Department’s reporting protocols at a
particular date and time, the defense proposes that the bolded language at the bottom of page 2
of AUSA Kassner’s October 6, 2023 letter to be modified to read as follows:

            ‘except during the Sabbath and other religious Holy Days, in which case
            the defendant must report such contact no more than 18 hours following
            the end of the Holy Day.’

        The defense would agree that such additional language would conform with the Second
Circuit’s mandate and permit Mr. Mayer to report in person, if required by his Probation Officer,
were sunset or nightfall to be as early as 5 p.m. as it could be at certain times within the year or
within his own family’s religious practices.

       Thank you for the Court’s consideration.

                                                      Respectfully submitted;

                                                       /s/
                                                      Walter Mack


cc: Clerk of the Court (BMC) (by ECF)
    Kassner, Gillian (USANYE)
    Probation Officer Gregory Giblin (by email)
